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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


SCOTT BROWN,                          )
                                      )
        Plaintiff,                    )
                                      )         CIVIL ACTION NO.
        v.                            )           2:20cv06-MHT
                                      )               (WO)
U.S. FOODS, INC., et al.              )
                                      )
        Defendants.                   )

                            OPINION AND ORDER

    Plaintiff        Scott    Brown--once        an    employee     of    U.S.

Foods, Inc., a major food service distributor--filed suit

in state court naming as defendants his former employer

and several of his fellow employees, and asserting what

appears to be a litany of injuries to his dignity and

career.

    Brown’s claims are all pleaded as common-law torts,

and the individual defendants he names are residents of

Alabama       like   him.      Nonetheless,           defendants    removed

Brown’s operative second amended complaint to federal

court    on    the   theory    that       the   claims   in   two    of    the

counts--labeled         “Retaliation”            and     “Hostile         Work
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Environment”--could arise under only Title VII of the

Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 1981a

and 2000e through 2000e-17.              Brown now agrees that his

complaint endeavors to state Title VII claims.

      The case is before the court on defendants’ motion

to   dismiss     all    of   Brown’s     claims.       The    court       has

jurisdiction over his ostensible Title VII claims under

28 U.S.C. § 1331 (federal question) and § 2000e-5(f)(3)

(Title VII), and it has jurisdiction over his state

claims       under      28      U.S.C.       § 1367       (supplemental

jurisdiction).         For the reasons that follow, the court

will grant the motion to dismiss, albeit with leave to

amend,     as   to   Brown’s     Title    VII    claims    because        the

allegations in his complaint fail to state a claim under

that statute.        The court will also allow the parties an

opportunity to show cause why the remainder of Brown’s

complaint should not be remanded to state court.




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                       I.    LEGAL STANDARD

    To survive a motion to dismiss under Federal Rule of

Civil   Procedure     12(b)(6),        a   complaint    “must    contain

sufficient factual matter, accepted as true, to ‘state a

claim to relief that is plausible on its face.’” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570, (2007)).                   “A claim

has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct

alleged.”    Id.



                         II. RETALIATION

    As stated, Brown’s complaint has two counts--labeled

“Retaliation” and “Hostile Work Environment”--that he

contends state claims under Title VII.                 The court will

first turn to the count labeled “Retaliation.”

    Title    VII   makes    it   unlawful      for     an   employer    to

retaliate against an employee or prospective employee

“because he has opposed any practice made an unlawful

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employment practice by this subchapter, or because he has

made a charge, testified, assisted, or participated in

any manner in an investigation, proceeding, or hearing

under this subchapter.”            42 U.S.C. § 2000e-3(a).              Any

action by an employer that might “dissuade[] a reasonable

worker    from     making     or     supporting       a    charge       of

discrimination” will qualify as unlawful retaliation.

Thompson v. N. Am. Stainless, LP, 562 U.S. 170, 174 (2011)

(quoting Burlington N. & Sante Fe Ry. v. White, 548 U.S.

53, 68 (2006)).

    Brown contends that his tenure at U.S. Foods was made

miserable and eventually ended because he reported to the

company’s Human Resources Department that some of his

co-workers were falsifying time sheets and absconding

with corporate property.           See Second Amended Complaint

(doc. no. 1-1) at 4-6.1         The co-workers he reported are

now the individual defendants in this suit.



    1. It is unclear from Brown’s filings whether the
alleged mistreatment he suffered at the hands of his co-
workers came before or after he complained to the Human
Resources Department. See Second Amended Complaint (doc.
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    Brown     argues        that     these     facts    give       rise     to   a

retaliation claim.           Specifically, he alleges that he was

harassed,    disciplined,          and       eventually      terminated      “in

retaliation      for    [his]      vocalization         of    the    improper

conduct at U.S. Foods.”               Second Amended Complaint (doc.

no. 1-1) at 6. The trouble is that the “improper conduct”

he had complained about was not discrimination or other

conduct prohibited by Title VII.                     The facts he alleges

do not show that he was retaliated against for opposing

discrimination         or    for     making      a    Title    VII     charge.

Instead,    he   alleges        he     was     retaliated      against       for

reporting the theft of company property and falsification

of time sheets.        See id. at 4-6.

    This     cannot         support      a    retaliation      claim      under

Title VII.       The        anti-retaliation          provisions       of    the

statute apply only when an employee is targeted for

certain     protected          activities,           such     as     opposing




no. 1-1) at 3. The court has given Brown the benefit of
the doubt and assumed that the alleged mistreatment came
after he complained.
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discrimination that is barred by the statute or making

or supporting a Title VII charge.             See Univ. of Tex. Sw.

Med. Ctr. v. Nassar, 570 U.S. 338, 347-48 (2013).                       The

conclusory assertion in Brown’s recitation of his claim

that he was actually retaliated against for telling the

Human     Resources     Department      “of       the   hostile      work

environment he was being subjected to,” id. at 21, does

not cure this deficiency, because his factual allegations

show    retaliation    for   notifying      the    company    that      its

assets were being misused, not for, for example, charging

discrimination.       Because Brown’s allegations indicate

that he was targeted for reporting his co-workers’ misuse

of company resources--not for an activity protected by

Title VII--his complaint fails to state a retaliation

claim under the statute.



                 III. HOSTILE-WORK ENVIRONMENT

       The other count in which Brown purports to state a

Title VII claim is labeled “Hostile Work Environment.”

A plaintiff may establish a hostile-work environment by

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showing “that: (1) he belongs to a protected group; (2)

he suffered unwelcome harassment; (3) the harassment was

based on a protected characteristic of the employee ...;

(4) the harassment was sufficiently severe or pervasive

to alter the terms and conditions of employment and

create a discriminatorily abusive working environment;

and (5) the employer is responsible for that environment

under a theory of either direct liability or vicarious

liability.”      Fernandez v. Trees, Inc., 961 F.3d 1148,

1153 (11th Cir. 2020).         Title VII does not prohibit all

harassment: only harassment based on such factors as an

employee’s     race,    color,    religion,      sex,    or    national

origin.

    Brown’s hostile-work environment claim falls short

because   he   does    not    adequately      allege    that    he      was

targeted for harassment due to a characteristic protected

by Title VII.      While he declares that he was “subjected

to retaliation and a hostile work environment because of

his race, color and sex,” Second Amended Complaint (doc.

no. 1-1) at 5, this bare statement of a legal conclusion

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is not sufficient to meet the pleading standards set

forth in Twombly and Iqbal.             See Iqbal, 556 U.S. at 678.

Beyond that, he provides not a single factual allegation

suggesting that any of the harassment his co-workers

engaged   in   and    U.S.    Foods      failed   to    constrain       was

connected to his race, color, or sex.                  Because Brown’s

factual   allegations        do   not    plausibly     show    that     the

harassment he experienced was based on a characteristic

protected by Title VII, his complaint fails to state a

hostile-work-environment claim.2




               IV. INTENTIONAL DISCRIMINATION

    In addition, some of the allegations in Brown’s count

labeled    “Hostile     Work      Environment”         could   also      be




    2. It is unclear whether Brown also asserts,
separate from his retaliation claim, a retaliatory
hostile-work environment, that is, that the defendants
created a hostile-work environment in retaliation for his
having complained to the company’s Human Resources
Department.   However, as stated, the mistreatment he
allegedly suffered was for complaining about his
co-worker’s misuse of company resources, and such
complaining is not protected by Title VII.
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understood as an attempted direct claim of intentional

discrimination against U.S. Foods under Title VII, 42

U.S.C. § 2000e-2.        In particular, Brown’s only factual

allegation that has anything to do with his race, color,

or sex is that:

    “[T]wo African American employees ... engaged in
    a physical altercation at US Foods and suffered
    no punishment. Yet, US Foods attempts to falsely
    justify their action here with a claim that Brown
    engaged in an altercation with a co-employee.”

Second Amended Complaint (doc. no. 1-1) at 20.                   In his

response    to   the    pending        motion   to   dismiss,      Brown

explained that the action U.S. Foods took based on this

‘altercation’ was a disciplinary citation for violating

the company’s Violence Prevention Policy.                   See Pl.’s

Response to Motion to Dismiss (doc. no. 18) at 11.

    For an employment action to amount to intentional

discrimination in violation of Title VII, it must effect

a “serious and material change in the terms, conditions,

or privileges of employment.”             Jefferson v. Sewon Am.,

Inc., 891 F.3d 911, 921 (11th Cir. 2018) (quoting Davis

v. Town of Lake Park, 245 F.3d 1232, 1239 (11th Cir.

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2001))     (emphasis      in        original).           “[N]egative       job

performance memoranda” and other disciplinary acts that

cause no “economic injury” are insufficient to meet this

threshold.       Davis, 245 F.3d at 1240.

       Brown does not allege that the disciplinary citation

he received led to his firing or to any other economic

injury.    Instead, he alleges repeatedly that he was fired

for complaining about his co-workers’ alleged misuse of

company resources.             Because the citation is the only

action by U.S. Foods for which Brown presents any facts

suggesting       his   race    played       a   role,    and    because    the

citation does not amount to a “serious and material

change    in     the   terms,       conditions,         or   privileges    of

employment,” Brown fails to state a claim of intentional

discrimination under Title VII.



                              V.    CONCLUSION

       Title VII of the Civil Rights Act protects workers

from     being    discriminated            against      or     subjected   to

harassment       for   their       race,   color,    religion,      sex,    or

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national origin, and from retaliation for complaining of

such discrimination.          The facts that Brown currently

alleges are that he was mistreated for reporting his

fellow workers’ misappropriation of corporate resources.

Retaliating against an employee for that reason may be

unlawful, but Title VII does not make it so.                   And the

disciplinary citation he allegedly received does not,

standing alone, support a Title VII claim.

    In the notice of removal, defendants claimed that

Brown’s counts labeled “Retaliation” and “Hostile Work

Environment” must be read as Title VII claims because

Alabama law does not protect workers against “race or sex

discrimination, harassment, or retaliation.”                Notice of

Removal (doc. no. 1) at 4.          The court passes no judgment

today   on   whether   this    is    true,   nor    whether    Brown’s

current allegations in these two counts could plausibly

state any claims under Alabama law.            All the court holds

is that, as plaintiffs’ complaint is now pleaded, Title

VII provides him no remedy.



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    The   court    declines     to       rule   on   the    remainder     of

defendants’ motion to dismiss.                  The court believes it

likely that the proper course of action at this point is

to remand the state law claims remaining in plaintiff’s

suit to the state court from which they were removed.

See 28 U.S.C. § 1367(c)(3); see also Carnegie-Mellon

Univ. v. Cohill, 484 U.S. 343, 357 (1988); Myers v. Cent.

Fla. Invs., Inc., 592 F.3d 1201, 1226 (11th Cir. 2010).

However, before deciding to do so, the court will give

the parties an opportunity to show cause why this case

should not be remanded.

    The   court      will    also    allow       Brown     to   amend    his

complaint to attempt to state a plausible Title VII

claim, if he so chooses.            However, whether or not Brown

seeks to amend his complaint, the parties should show

cause why the case should not be remanded.

                                    ***

    Accordingly, it is ORDERED that:

    (1) Defendants’ motion to dismiss (doc. no. 15) is

granted   as    to     the    counts       labeled       “Hostile       Work

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Environment”    and    “Retaliation”      in   plaintiff’s       Second

Amended Complaint (doc. no. 1-1), and said counts are

dismissed without prejudice.            Should plaintiff believe

that his allegations can be revised to state a plausible

claim under Title VII, the court will consider a motion

to amend his complaint filed by 5:00 p.m. on October 20,

2020.

    (2) The parties should also show cause, if there be

any, in writing by 5:00 p.m. on October 20, 2020, as to

why, in the absence of plausible Title VII claims, the

state claims in this suit should not be remanded to state

court.

    DONE, this the 13th day of October, 2020.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




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